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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                     :
UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
                       v.                            :       No. 15-cr-00155 (RNC)
                                                     :
                                                     :
ROSS SHAPIRO and                                     :       June 27, 2018
MICHAEL GRAMINS                                      :
                                                     :


                 ROSS SHAPIRO’S MOTION FOR RECONSIDERATION
                         PURSUANT TO LOCAL RULE 7(c)


       Mr. Shapiro respectfully moves the Court, pursuant to Rule 7(c) of the Local Rules of

Civil Procedure for the District of Connecticut, incorporated by reference into the District’s

Local Rules of Criminal Procedure by Rule 1(c), to reconsider its Order dated June 5, 2018 (Dkt.

504), denying Mr. Shapiro’s motion for a judgment of acquittal pursuant to Rule 29(c) of the

Federal Rules of Criminal Procedure (Dkt. 440) and motion to dismiss the indictment on Due

Process grounds (Dkt. 400).

       A memorandum supporting the motion for reconsideration is filed herewith.

                                                  Respectfully submitted,

                                                  PETRILLO KLEIN & BOXER LLP

                                                  By: /s/ Guy Petrillo
                                                     Guy Petrillo (CT19924)
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                                CERTIFICATION OF SERVICE

       I hereby certify that on June 27, 2018, a copy of foregoing Ross Shapiro’s Motion for

Reconsideration Pursuant to Local Rule 7(c) was filed electronically and served by mail on

anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all parties

by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System.

Dated: New York, New York
       June 27, 2018

                                                      /s/ Leonid Sandlar
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